        Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 1 of 37



 1   Eric L. Cramer (Pro Hac Vice)
     Michael Dell’Angelo (Pro Hac Vice)
 2   Patrick F. Madden (Pro Hac Vice)
     Mark R. Suter (Pro Hac Vice)
 3
     BERGER & MONTAGUE, P.C.
 4   1622 Locust Street
     Philadelphia, PA 19103
 5   Telephone: (215) 875-3000
     Facsimile: (215) 875-4604
 6   ecramer@bm.net
 7   mdellangelo@bm.net
     pmadden@bm.net
 8   msuter@bm.net

 9   Co-Lead Counsel for the Classes and
     Attorneys for Individual and Representative Plaintiﬀs
10
     Cung Le, Nathan Quarry, Jon Fitch, Luis Javier
11   Vazquez, Brandon Vera, and Kyle Kingsbury

12   (Additional counsel appear on signature page)
13
                             IN THE UNITED STATES DISTRICT COURT
14                                FOR THE DISTRICT OF NEVADA
15
     Cung Le, Nathan Quarry, Jon Fitch, Brandon         Case No.: 2:15-cv-01045-RFB-PAL
16   Vera, Luis Javier Vazquez, and Kyle Kingsbury,
     on behalf of themselves and all others similarly
17                                                      REPLY IN SUPPORT OF PLAINTIFFS’
     situated,
                                                        MOTION FOR CLASS CERTIFICATION
18
                           Plaintiﬀs,
19
            v.
20

21   Zuﬀa, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
22
                           Defendant.
23

24

25

26

27

28
                                                                              Case No.: 2:15-cv-01045-RFB-(PAL)
                         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                        PUBLIC COPY - REDACTED
            Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 2 of 37



 1                                                         TABLE OF CONTENTS

 2             INTRODUCTION ............................................................................................................. 1
 3             ARGUMENT ..................................................................................................................... 3
 4             A.        Zuﬀa Misstates the Rule 23 Standards ................................................................... 3
 5             B.        Evidence of the Antitrust Violation Is Entirely Common and Will Predominate .. 4
 6             C.        Zuﬀa Fails to Rebut Plaintiﬀs’ Showing of Common Impact................................ 6
 7                                  Dr. Singer’s Use of Wage Share Is Proper. ................................................ 7
 8                                  Dr. Singer’s Use of Foreclosure Share Is Proper. ...................................... 9
 9                                  Dr. Singer Shows Common Impact Based on a Pay Structure. ............... 12
10             D.        Plaintiﬀs’ Claims Are Typical of the Class Claims .............................................. 16
11             E.        Plaintiﬀs Satisfy the Adequacy Requirement....................................................... 19
12             F.        Plaintiﬀs’ Showing Complies with Comcast ....................................................... 21
13             G.        Class Litigation Is Superior to Individual Actions ............................................... 23
14             H.        Common Issues Predominate for the Identity Class ............................................ 24
15             I.        Plaintiﬀs Have Standing to Seek Injunctive Relief .............................................. 25
16   III.      CONCLUSION ................................................................................................................ 25
17

18

19

20

21

22

23

24

25

26

27

28
                                                                              i
                                                                                                               Case No.: 2:15-cv-01045-RFB-(PAL)
                                 REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                       PUBLIC COPY - REDACTED
         Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 3 of 37



 1                                                       TABLE OF AUTHORITIES

 2
     Cases
 3
     Alexander v. JBC Legal Grp., P.C.,
 4
       237 F.R.D. 628 (D. Mont. 2006) ..........................................................................................................19
 5
     Allen v. Dairy Farmers of Am., Inc.,
 6     279 F.R.D. 257 (D. Vt. 2011) ...............................................................................................................20

 7   Allen v. Dairy Farmers of Am., Inc.,
       No. 5:09-cv-230, 2012 WL 5844871 (D. Vt. Nov. 19, 2012) ..........................................................4, 21
 8
     Allen v. Holiday Universal,
 9     249 F.R.D. 166 (E.D. Pa. 2008) ...........................................................................................................19
10
     Allied Orthopedic Appliances, Inc. v. Tyco Healthcare Grp. L.P.,
11     247 F.R.D. 156 (C.D. Cal. 2007) ...........................................................................................................4

12   Amgen Inc. v. Conn. Ret. Plans and Trust Funds,
       568 U.S. 455 (2013) .......................................................................................................................3, 4, 5
13
     Backus v. ConAgra Foods, Inc.,
14     No. C 16-00454, 2016 WL 7406505 (N.D. Cal. Dec. 22, 2016) ...................................................17, 18
15
     Barnes v. AT&T Pension Beneﬁt Plan,
16     270 F.R.D. 488 (N.D. Cal. 2010) ...................................................................................................19, 25

17   Bates v. United Parcel Serv., Inc.,
       511 F.3d 974 (9th Cir. 2007) ................................................................................................................25
18
     Berkey Photo, Inc. v. Eastman Kodak Co.,
19     603 F.2d 263 (2d Cir. 1979) ...................................................................................................................6
20   Blackie v. Barrack,
21     524 F.2d 891 (9th Cir. 1975) ................................................................................................................20

22   Boyd v. Bank of Am. Corp.,
       300 F.R.D. 431 (C.D. Cal. 2014) .........................................................................................................24
23
     Braintree Labs., Inc. v. McKesson Corp.,
24     No. 11-80233, 2011 WL 5025096 (N.D. Cal. Oct. 20, 2011) ..............................................................20
25   Castro v. Sanoﬁ Pasteur Inc.,
       134 F. Supp. 3d 820 (D.N.J. 2015)....................................................................................................... 11
26

27   Comcast Corp. v. Behrend,
       569 U.S. 27 (2013) .........................................................................................................................21, 22
28
                                                                              ii
                                                                                                               Case No.: 2:15-cv-01045-RFB-(PAL)
                                 REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                       PUBLIC COPY - REDACTED
         Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 4 of 37



 1   Edmonds v. Levine,
       233 F.R.D. 638 (S.D. Fla. 2006) ..........................................................................................................18
 2
     Ellis v. Costco Wholesale Corp.,
 3     657 F.3d 970 (9th Cir. 2011) ............................................................................................................3, 17
 4
     Fears v. Wilhelmina Model Agency, Inc.,
 5     No. 02-cv-4911, 2003 WL 21659373 (S.D.N.Y. July 15, 2003) ..........................................................17

 6   Fleischman v. Albany Med. Ctr.,
       No. 1:06-cv-765, 2008 WL 2945993 (N.D.N.Y. 2008) .......................................................................15
 7
     Free World Foreign Cars, Inc. v. Alfa Romeo, S.p.A.,
 8     55 F.R.D. 26 (S.D.N.Y 1972) ...............................................................................................................20
 9   Fujita v. Sumitomo Bank of Cal.,
10     70 F.R.D. 406 (N.D. Cal. 1975) ...........................................................................................................19

11   Gilkey v. Cent. Clearing Co.,
       202 F.R.D. 515 (E.D. Mich. 2001) .......................................................................................................18
12
     Growers 1-7 v. Ocean Spray Cranberries, Inc.,
13     No. 12-12016, 2016 WL 10849499 (D. Mass. May 10, 2016) ..............................................................4
14   Hanon v. Dataproducts Corp.,
15     976 F.2d 497 (9th Cir. 1992) ..........................................................................................................16, 17

16   Haro v. Sebelius,
       747 F.3d 1099 (9th Cir. 2014) ..............................................................................................................25
17
     Herrera v. LCS Fin. Servs. Corp.,
18     274 F.R.D. 666 (N.D. Cal. 2011) .........................................................................................................17
19   In re Air Cargo Shipping Servs. Antitrust Litig.,
        No. 06-MD-1175, 2014 WL 7882100 (E.D.N.Y. Oct. 15, 2004) .........................................................12
20

21   In re Domestic Drywall Antitrust Litig.,
        13-MD-2437, 2017 WL 3700999 (E.D. Pa. Aug. 24, 2017) ............................................................... 19
22
     In re Graphics Processing Units Antitrust Litig.,
23      253 F.R.D. 478 (N.D. Cal. 2008) .........................................................................................................16
24   In re High-Tech Employee Antitrust Litig.,
        985 F. Supp. 2d 1167 (N.D. Cal. 2013) ............................................................................................9, 14
25
     In re Korean Ramen Antitrust Litig.,
26
        No. 13-cv-04115, 2017 WL 235052 (N.D. Cal. Jan. 19, 2017) ...........................................................17
27
     In re Nat’l Collegiate Athletic Ass’n Athletic Grant-In-Aid Cap Antitrust Litig.,
28      311 F.R.D. 532 (N.D. Cal. 2015) ................................................................................................. passim
                                                                           iii
                                                                                                            Case No.: 2:15-cv-01045-RFB-(PAL)
                                REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                      PUBLIC COPY - REDACTED
         Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 5 of 37



 1   In re NCAA I-A Walk On Football Players Litig.,
        No. 04-cv-1254, 2006 WL 1207915 (W.D. Wash. May 3, 2006) ..........................................................6
 2
     In re NCAA Student-Athlete Name & Likeness Licensing Litig.,
 3      No. 09-cv-1967, 2013 WL 5979327 (N.D. Cal. Nov. 8, 2013) ..............................................................6
 4
     In re Optical Disk Drive Antitrust Litig.,
 5      303 F.R.D. 311 (N.D. Cal. 2014) .........................................................................................................12

 6   In re Organogenesis Sec. Litig.,
        241 F.R.D. 397 (D. Mass. 2007) ..........................................................................................................18
 7
     In re Polyurethane Foam Antitrust Litig.,
 8      No. 1:10-md-2196, 2014 WL 6461355 (N.D. Ohio Nov. 17, 2014) ....................................................13
 9   In re Processed Egg Prod. Antitrust Litig.,
10      81 F. Supp. 3d 412 (E.D. Pa. 2015)......................................................................................................13

11   In re Rail Freight Fuel Surcharge Antitrust Litig.,
        292 F. Supp. 3d 14 (D.D.C. 2017) .......................................................................................................22
12
     In re Se. Milk Antitrust Litig.,
13      No. 2:08-md-1000, 2010 WL 3521747 (E.D. Tenn. Sept. 7, 2010) .......................................................4
14   In re Static Random Access Memory (SRAM) Antitrust Litig.,
15      264 F.R.D. 603 (N.D. Cal. 2009) ...........................................................................................................4

16   In re Tricor Direct Purchaser Antitrust Litig.,
        252 F.R.D. 213 (D. Del. 2008) ...........................................................................................................5, 6
17
     In re Warfarin Sodium Antitrust Litig.,
18      391 F.3d 516 (3d Cir. 2004) ...................................................................................................................5
19   In re Wellbutrin SR Direct Purchaser Antitrust Litig.,
        No. 04-5525, 2008 WL 1946848 (E.D. Pa. May 2, 2008) ...................................................................17
20

21   In re Wells Fargo Home Mortg. Overtime Pay Litig.,
        527 F. Supp. 2d 1053 (N.D. Cal. 2007)................................................................................................19
22
     In re Yahoo Mail Litig.,
23      308 F.R.D. 577 (N.D. Cal. 2015) .........................................................................................................17
24   In re Syngenta AG MIR 162 Corn Litig.,
        No. 14-md-2591, 2016 WL 5371856 (D. Kan. Sept. 26, 2016).............................................................3
25
     J.B.D.L. Corp. v. Wyeth-Ayerst Labs. Inc.,
26
        225 F.R.D. 208 (S.D. Ohio 2003) ..........................................................................................................3
27
     Johnson v. Ariz. Hosp. & Healthcare Ass’n,
28     No. 07-cv-1292, 2009 WL 5031334 (D. Ariz. July 14, 2009) ...................................................8, 15, 19
                                                                             iv
                                                                                                              Case No.: 2:15-cv-01045-RFB-(PAL)
                                 REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                       PUBLIC COPY - REDACTED
         Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 6 of 37



 1   Kanawi v. Bechtel Corp.,
       254 F.R.D. 102 (N.D. Cal. 2008) .........................................................................................................20
 2
     Kelen v. World Fin. Network Nat’l Bank,
 3     295 F.R.D. 87 (S.D.N.Y. 2013) ............................................................................................................18
 4
     Le v. Zuﬀa, LLC,
 5     216 F. Supp. 3d 1154 (D. Nev. 2016) ........................................................................................... passim

 6   Leyva v. Medline Indus. Inc.,
       716 F.3d 510 (9th Cir. 2013) ..........................................................................................................21, 25
 7
     McDonough v. Toys R Us, Inc.,
 8    638 F. Supp. 2d 461 (E.D. Pa. 2009)......................................................................................................3
 9   Natchitoches Parish Hosp. Serv. Dist. v. Tyco Int’l, Ltd.,
10     262 F.R.D. 58 (D. Mass. 2008) ..............................................................................................................3

11   NicSand, Inc. v. 3M Co.,
       457 F.3d 534 (6th Cir. 2006) ..................................................................................................................5
12
     Nitsch v. Dreamworks Animation SKG Inc.,
13     315 F.R.D. 270 (N.D. Cal. 2016) .........................................................................................................17
14   Reed v. Advocate Health Care,
15     268 F.R.D. 573 (N.D. Ill. 2009) ...........................................................................................................12

16   Sarviss v. Gen. Dynamics Info. Tech., Inc.,
       663 F. Supp. 2d 883 (C.D. Cal. 2009) ..................................................................................................19
17
     Seaman v. Duke Univ.,
18     No. 1:15-cv-462, 2018 WL 671239 (M.D.N.C. Feb. 1, 2018)..................................................... passim
19   SourceOne Dental, Inc. v. Patterson Cos., Inc.,
       No. 15-cv-5440, 2018 WL 2172667 (E.D.N.Y. May 10, 2018) ...........................................................22
20

21   State of Alaska as Parens Patriae v. Suburban Propane Gas Corp.,
       No. A93-291 CIV, 1995 WL 441987 (D. Alaska Jan. 12, 1995)..........................................................16
22
     Tigbao v. QBE Fin. Inst. Risk Servs., Inc.,
23     No. SACV 13-177 JLS (JCx), 2014 WL 5033219 (C.D. Cal. Sept. 22, 2014) ....................................25
24   Torres v. Mercer Canyons Inc.,
       835 F.3d 1125 (9th Cir. 2016) ................................................................................................................4
25
     Troy v. Kehe Food Distribs., Inc.,
26
       276 F.R.D. 642 (W.D. Wash. 2011) ......................................................................................................17
27
     Tyson Foods, Inc. v. Bouaphakeo,
28     136 S. Ct. 1036 (2016) ................................................................................................................. passim
                                                                             v
                                                                                                             Case No.: 2:15-cv-01045-RFB-(PAL)
                                 REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                      PUBLIC COPY - REDACTED
         Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 7 of 37



 1   Valenzuela v. Union Pac. R.R. Co.,
       No. CV-15-01092, 2017 WL 679095 (D. Ariz. Feb. 21, 2017) ...........................................................18
 2
     White v. Nat’l Collegiate Athletic Ass’n,
 3    No. 06-cv-999, 2006 WL 8066803 (C.D. Cal. Oct. 19, 2006) ...........................................................8, 9
 4
     Woﬀord v. Safeway Stores, Inc.,
 5     78 F.R.D. 460 (N.D. Cal. 1978) ...........................................................................................................19

 6   ZF Meritor, LLC v. Eaton Corp.,
       696 F.3d 254 (3d Cir. 2012) ...................................................................................................................3
 7
     Zinser v. Accuﬁx Research Inst., Inc.,
 8     253 F.3d 1180 (9th Cir. 2001) ..............................................................................................................24
 9   Rules
10
     Fed. R. Civ. P. 23.............................................................................................................................. passim
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                               vi
                                                                                                                 Case No.: 2:15-cv-01045-RFB-(PAL)
                                  REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                                        PUBLIC COPY - REDACTED
        Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 8 of 37



 1
                                       GLOSSARY OF ABBREVIATIONS
 2
            For the convenience of the Court and eﬃciency, Plaintiﬀs’ Reply in Support of Plaintiﬀs’
 3
     Motion for Class Certiﬁcation uses the same deﬁned terms as they used in their opening brief, as well
 4
     as additional abbreviations for citations to the parties’ respective ﬁlings and expert reports, all of which
 5
     are summarized below:
 6
                               Description                                Abbreviation            Location
 7
      Declarations of Eric L. Cramer, Esq.
 8      Declaration of Eric L. Cramer, Esq. (February 16, 2018)           CD                ECF No. 518-1
        Declaration of Eric L. Cramer, Esq. (April 6, 2018)               CD2               ECF No. 534-1
 9      Declaration of Eric L. Cramer, Esq. (May 30, 2018)                CD3               Filed
                                                                                            contemporaneously
10
      Other Briefs
11      Plaintiﬀs’ Motion for Class Certiﬁcation (February 16,            CB                ECF No. 518
        2018)
12      Zuﬀa, LLC’s Opposition to Plaintiﬀs’ Motion for Class             OB                ECF No. 540
        Certiﬁcation (April 6, 2018)
13
        Zuﬀa, LLC’s Motion to Exclude the Testimony of Dr. Hal            SD                ECF No. 524
14      Singer Under Fed. R. Evid. 702 and Daubert (February 16,
        2018)
15      Zuﬀa, LLC’s Motion to Exclude the Testimony of Dr.                ZD                ECF No. 522
        Andrew Zimbalist Under Fed. R. Evid. 702 and Daubert
16
        (February 16, 2018)
17      Plaintiﬀs’ Consolidated Brief in Opposition to Zuﬀa, LLC’s        SZDO              ECF No. 534
        Motion to Exclude the Testimony of Drs. Hal Singer and
18      Andrew Zimbalist (April 6, 2018)
        Zuﬀa, LLC’s Reply in Support of Motion to Exclude the             SDR               ECF No. 551
19      Testimony of Dr. Hal Singer Under Fed. R. Evid. 702 and
20      Daubert (May 7, 2018)
      Expert Reports and Declarations
21      Expert Report of Hal J. Singer, Ph.D. (August 31, 2017)           SR1               ECF No. 518-3
        Rebuttal Expert Report of Hal J. Singer, Ph.D. (January 12,       SR2               ECF No. 518-4
22      2018)
23      Supplemental Expert Report of Hal J. Singer, Ph.D. (April         SR3               ECF No. 534-3
        3, 2018)
24      Second Supplemental Reply Report of Hal J. Singer, Ph.D.          SR4               CD3, Exhibit 86
        (May 28, 2018)
25      Expert Report of Andrew Zimbalist in Cung Le, et al. v.           ZR1               ECF No. 518-5
26      Zuﬀa, LLC (August 30, 2017)
        Expert Rebuttal Report of Andrew Zimbalist (December 26,          ZR2               ECF No. 518-6
27      2017)
        Expert Rebuttal Report of Professor Alan Manning (January         MR1               ECF No. 518-7
28      12, 2018)
                                                       vii
                                                                                   Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                          PUBLIC COPY - REDACTED
      Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 9 of 37



 1     Expert Report of Professor Robert H. Topel (October 27,     TR1               ECF Nos. 528,
       2017)                                                                         524-5
 2     Professor Robert H. Topel’s Reply to the Supplemental       TR4               ECF No. 551-16
 3     Expert Report of Hal J. Singer, Ph.D. (May 7, 2018)
       Expert Report of Paul Oyer (October 27, 2017)               OR1               ECF No. 524-10
 4     Expert Report of Roger D. Blair (November 15, 2017)         BR1               ECF No. 522-10
     Depositions
 5     Excerpts from the Deposition of Javier Vazquez (February    Vazquez Tr.       ECF No. 540-19
 6     14, 2017)
       Excerpts from the Deposition of Kyle Kingsbury (February    Kingsbury Tr.     ECF No. 540-20
 7     17, 2017)
       Excerpts from the Deposition of Jon Fitch (February 15,     Fitch Tr.         ECF No. 540-13
 8     2017)
 9     Excerpts from the Deposition of Cung Le (April 11, 2017)    Le Tr.            ECF No. 540-72
       Excerpts from the Deposition of Hal J. Singer, Ph.D.        S.Tr.             CD3, Exhibit 87
10     (September 27, 2017)
       Excerpts from the Deposition of Paul Oyer (November 29,     O.Tr.             ECF No. 518-24
11     2017)
       Excerpts from the Deposition of Robert H. Topel (December   T.Tr.1            ECF No. 534-10
12
       5, 2017)
13     Excerpts from the Deposition of Robert H. Topel (December   T.Tr.2            CD3, Exhibit 88
       6, 2017)
14   Other Deﬁned Terms
       Consolidated Amended Antitrust Class Action Complaint       CAC               ECF No. 208
15
       (December 18, 2015)
16     Zuﬀa’s “Scheme,” deﬁned at CB at 1, 8-11                    Scheme
       Zuﬀa’s Promotional and Ancillary Rights Agreements with     Exclusive
17     Fighters that constrained the Fighters from ﬁghting for     Contracts
       and/or freely negotiating with other MMA promoters for a
18
       period of at least 30 months or longer and a Champion’s
19     Clause
       Zuﬀa’s Promotional and Ancillary Rights Agreement           PAR
20

21

22

23

24

25

26

27

28
                                                   viii
                                                                            Case No.: 2:15-cv-01045-RFB-(PAL)
                      REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                    PUBLIC COPY - REDACTED
         Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 10 of 37



 1          INTRODUCTION
 2          Zuffa’s opposition to class certification is premised on four fundamental errors.

 3          No Immunity. Zuffa errs first in asserting that its business success insulates its conduct from
 4   legal challenge. Plaintiffs do not contest that Zuffa’s owners could use their legal earnings as

 5   entrepreneurs to fly around on private jets and enrich themselves with huge cash “shareholder

 6   distributions,” while borrowing money to run the UFC. The problem for Zuffa is that it engaged in

 7   various forms of illegal conduct—the “Scheme.” That illegal conduct allowed Zuffa to tie up the vast

 8   majority of top MMA Fighters, impair competition for MMA Fighter services, and suppress Fighter

 9   compensation below competitive levels. 1 Zuffa’s untenable position is that even absent its exclusionary

10   Scheme, it would somehow have been able to keep virtually all of the growing revenues from the UFC,

11   and it mischaracterizes Plaintiffs’ approach as similarly overreaching. But, as Plaintiffs’ experts show,

12   even in a more competitive market, Zuffa’s take would have been as high as          of the growing UFC

13   Event Revenues—just not in excess of         as it is now—leaving the UFC’s owners substantial profits.

14          Zuffa similarly insists the only way to evaluate compensation is by using wage level. That is

15   just a technical way to make the same incorrect claim: that even in a more competitive market, Zuffa

16   would have been able to keep virtually all of the increasing revenues from UFC events. Use of wage

17   level masks Zuffa’s abuse of monopsony power. Wage level measures compensation in dollars. Zuffa

18   claims it caused no injury as long as “the compensation in dollars paid to Zuffa athletes has increased

19   during the class period.” OB at 25. Zuffa implies that it is immune from antitrust liability even if Zuffa

20   would have paid the Fighters substantially more in a competitive market. Id. In contrast, Plaintiffs’

21   experts demonstrate that the right way to measure the effects of Zuffa’s illegal accretion of market

22   power is through wage share (“Wage Share”). Wage Share measures compensation as a percentage of

23   revenues. Unlike most workers—but like other professional athletes—Fighters are the main draw at

24   MMA events and responsible for a percentage of revenues. SR2 ¶¶89-93, 111-13, 120; MR1 ¶¶24-28.

25
     1
       As this Court has held, “While Defendant attempts to characterize its own behavior as ‘strong
26   competition,’ the Court does not construe Plaintiﬀs’ Complaint to allege that Zuﬀa’s behavior is merely
     ‘strong competition.’ Rather, Plaintiﬀs argue that Zuﬀa’s conduct ‘has foreclosed competition and
27   thereby enhanced and maintained the UFC’s monopoly power in the Relevant Output Market and
     monopsony power in the Relevant Input Market.’ Compl. ¶5. �ese claims state an antitrust violation.”
28   Le v. Zuﬀa, LLC, 216 F. Supp. 3d 1154, 1164–65 (D. Nev. 2016).
                                                         1
                                                                                 Case No.: 2:15-cv-01045-RFB-(PAL)
                         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
       Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 11 of 37



 1   For that reason, economists assessing monopsony power in professional sports, including Zuffa’s own

 2   economists, routinely use Wage Share. SR2 ¶¶92-102; MR1 ¶¶6-23. So do Plaintiffs’ experts, finding,

 3   absent the Scheme, Zuffa would have increased its Fighter compensation in proportion to the growth of

 4   its MMA event revenues, paying a Wage Share of                    .

 5          Common Evidence of a Violation Zuffa’s second error is to misunderstand the antitrust
 6   violation: a Scheme to acquire and maintain monopsony power. By its nature, the claim depends on the

 7   effect of Zuffa’s Scheme on the market as a whole. Whether Zuffa acquired or maintained monopsony

 8   power is binary: it either did or did not. That issue does not depend on who brings the claim. It has no

 9   special significance for a Class member, for example, whether Zuffa coerced that particular Class

10   member into signing a contract. What matters is the cumulative effect of Zuffa’s conduct on its

11   monopsony power. Whether Zuffa violated federal antitrust law thus raises only common issues.

12          Unrebutted Evidence of Common Impact. Zuffa’s third error is one of omission: it has failed
13   to respond effectively to the ways in which Plaintiffs show common impact. When, as here, plaintiffs

14   offer common evidence capable of proving that harm was widespread across a class, courts routinely

15   certify classes in antitrust cases. CB at 21-23 (citing cases). Plaintiffs show common impact using a

16   standard two-step process, id. at 19, 23: (1) using common evidence to show a general effect on price

17   (e.g., pay)—here, that Zuffa’s Scheme generally suppressed compensation to Fighters, id. at 23-25; and

18   (2) showing that the price (or pay) effect was widespread across Class members—which Plaintiffs do

19   here in two ways: (a) an impact regression showing Zuffa

20            , and (b) additional regression analyses and other evidence showing Fighter compensation was

21   governed largely by common factors, causing individual Fighter pay to move together. Id. at 25-28.

22   Zuffa does not refute that Dr. Singer’s impact regression, if admissible, shows

23                          . Nor do Zuffa’s economists effectively refute the evidence that compensation

24   for MMA Fighters moved together—indeed, Zuffa’s economists confirm that result. Id. at 28-29.

25          Harming Class Members to “Protect” �em. Finally, Zuﬀa’s arguments that the named
26   Plaintiﬀs are not typical or adequate all fail for two main reasons: (a) in the guise of protecting absent

27   Class members, Zuﬀa seeks to deprive them of any meaningful opportunity to vindicate their legal

28   rights, and (b) Zuﬀa’s arguments do not satisfy the relevant legal standards, relying, as they do, on

                                                           2                      Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
         Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 12 of 37



 1   speculation and a mischaracterization of Plaintiﬀs’ claims.

 2          ARGUMENT
 3       A. Zuﬀa Misstates the Rule 23 Standards
 4          �e issue at class certiﬁcation is not which party should ultimately prevail but whether common

 5   issues will predominate in litigating the merits. Amgen Inc. v. Conn. Ret. Plans and Trust Funds, 568

 6   U.S. 455, 459 (2013). Zuﬀa’s summary of Rule 23 standards incorrectly implies that plaintiﬀs must

 7   prove their claims now. OB at 12-13. �at is contrary to Amgen. Indeed, Tyson Foods held that if

 8   evidence is reliable and capable of proving an element on a classwide basis, nothing more is needed for

 9   class certiﬁcation. CB at 22 (citing Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1046 (2016)). 2

10          Zuﬀa also incorrectly suggests that courts more readily certify Section 1 than Section 2 claims.

11   OB 13-14. In reality, the two are analytically comparable. 3 Accordingly, the multiple classes certiﬁed to

12   address conspiracies to monopsonize markets under Section 1 are directly relevant. 4 �e issues are also

13   analogous for sellers seeking recovery for underpayments and buyers seeking recovery for overcharges,

14   particularly in those antitrust decisions certifying classes, based, as here, on the cumulative eﬀect of

15   hundreds of exclusionary agreements. 5 And Zuﬀa is also wrong that courts have not previously

16   certiﬁed classes in monopsonization cases. OB at 14. In addition to multiple cases certifying

17
     2
       See also Seaman v. Duke Univ., 2018 WL 671239, at *3 (M.D.N.C. Feb. 1, 2018) (under Tyson Foods,
18   plaintiﬀs need not prove the elements of their claims, but rather merely must present classwide
     evidence that a “reasonable juror could believe” suﬃcient to support their claims); In re Syngenta AG
19   MIR 162 Corn Litig., 2016 WL 5371856, at *7 (D. Kan. Sept. 26, 2016) (same).
              Zuﬀa draws an incoherent distinction between evidence supporting a fact, on one hand, and the
20   fact itself, on the other. OB at 13, n.30. But Tyson Foods says that where a set of facts—if reasonably
     accepted by a jury—would satisfy some element, a court should not deny class certiﬁcation on the
21   ground that it was not persuaded by the evidence that could have reasonably underpinned a jury’s
     ﬁnding. 136 S. Ct. at 1049. If that evidence is an expert opinion—as it was in Tyson Foods—then under
22   that decision, “[o]nce a district court ﬁnds evidence to be admissible, its persuasiveness is, in general, a
     matter for the jury.” Id. at 1049. Ellis v. Costco Wholesale Corp., 657 F.3d 970 (9th Cir. 2011), OB at
23   13, not only pre-dates Tyson Foods, but is not to the contrary. In Ellis, the suitability of class treatment
     depended upon showing that the defendant operated under a policy of nationwide discrimination that
24   could aﬀect the class as a whole. Id. at 983. Mere admissibility of the expert evidence was insuﬃcient
     because even if the plaintiﬀs’ expert’s use of “aggregate data” was admissible (id. at 982), it would not
25   have supported a ﬁnding of widespread discrimination.
     3
       See, e.g., ZF Meritor, LLC v. Eaton Corp., 696 F.3d 254, n.9 (3d Cir. 2012) (“Exclusive dealing claims
26   may be brought under Sections 1 and 2 of the Sherman Act and Section 3 of the Clayton Act.”).
     4
       See, e.g., CB at 4 & n.61; infra at 12, 14 & nn.22-23.
27   5
       See, e.g., McDonough v. Toys R Us, Inc., 638 F. Supp. 2d 461, 468–72, 491–92 (E.D. Pa. 2009);
     J.B.D.L. Corp. v. Wyeth-Ayerst Labs. Inc., 225 F.R.D. 208, 211, 217–21 (S.D. Ohio 2003); Natchitoches
28   Parish Hosp. Serv. Dist. v. Tyco Int’l, Ltd., 262 F.R.D. 58, 60, 64-69 (D. Mass. 2008).

                                                           3                      Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
         Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 13 of 37



 1   conspiracies to monopsonize just mentioned, courts have also certiﬁed unilateral conduct cases. See,

 2   e.g., Allen v. Dairy Farmers of Am., Inc., 2012 WL 5844871, at *17 (D. Vt. Nov. 19, 2012) (certifying

 3   classes of dairy farmers alleging unilateral exclusionary conduct suppressed price of milk); In re Se.

 4   Milk Antitrust Litig., 2010 WL 3521747, at *13 (E.D. Tenn. Sept. 7, 2010) (same). 6

 5       B. Evidence of the Antitrust Violation Is Entirely Common and Will Predominate
 6          Plaintiﬀs showed that common issues predominate here because the issue of a violation (a) is

 7   common to the Class as a whole, and (b) will predominate in this litigation as a whole. CB at 20-21.

 8   Zuﬀa does not cite—much less distinguish—binding precedent conﬁrming that when the issue of a

 9   legal violation is predominant and common, Rule 23(b)(3) can be satisﬁed even without a showing of

10   common impact. See CB at 20-21 (citing, e.g., Amgen, 568 U.S. at 459; Torres v. Mercer Canyons Inc.,

11   835 F.3d 1125, 1134, 1137 (9th Cir. 2016)). 7 Nor does Zuﬀa contest that the predominant issue in this

12   case will be whether it violated federal antitrust law. Instead, Zuﬀa makes three incorrect arguments.

13   All fail for one common reason: they mistakenly assume Plaintiﬀs seek damages that ﬂow directly from

14   their individual contracts and circumstances; in fact, Plaintiﬀs seek only those damages that ﬂow from

15   Zuﬀa’s overall Scheme, as they have consistently maintained since ﬁling their complaint. 8 As a result,

16   all of Zuﬀa’s acts that contributed incrementally to Zuﬀa’s monopsony power are equally relevant to all

17   Class members. All pertain to whether Zuﬀa’s Scheme as a whole violated the antitrust laws and

18   enabled Zuﬀa to suppress compensation marketwide. �ose merits issues by their nature are common.

19
     6
       Zuﬀa’s citations to Growers 1-7 v. Ocean Spray Cranberries, Inc., 2016 WL 10849499 (D. Mass.
20   May 10, 2016), and Allied Orthopedic Appliances, Inc. v. Tyco Healthcare Grp. L.P., 247 F.R.D. 156
     (C.D. Cal. 2007), OB at 14, do not help them. Growers is inapposite because, unlike here, there was no
21   objective way to tell which class members were injured and plaintiﬀs’ theory there did not even purport
     to aﬀect “most of the putative class members.” 2016 WL 10849499 at *5. Allied is oﬀ point because the
22   alleged exclusionary conduct in that case involved giving class members “discounts and deals” from
     which, the court found, many class members “may have beneﬁtted[.]” 247 F.R.D. at 168-69. By
23   contrast, here, the challenged conduct includes no class member beneﬁts. Finally, Zuﬀa cites ﬁve
     additional decisions denying class certiﬁcation in Section 2 cases. See OB at 14, n.32. But class was not
24   denied in any of those cases due to something peculiar to Section 2, but rather because, unlike here,
     plaintiﬀs in those cases had not presented a plausible showing of widespread impact.
25   7
       See also In re Static Random Access Memory (SRAM) Antitrust Litig., 264 F.R.D. 603, 611 (N.D. Cal.
     2009) (“Plaintiﬀs need not show that there will be common proof on each element of the claim”
26   especially where proof of the violation is “the predominant issue[.]”) (quotation omitted).
     8
       See CAC ¶115 (“None of the Plaintiﬀs in this matter is suing as part of this case. . . to enforce any
27   rights or provisions of his or particular UFC contract. Nor is any Plaintiﬀ in this matter claiming. . . that
     his or her contract, standing alone, violates the antitrust laws. Rather, Plaintiﬀs allege here that all of
28   the UFC’s contracts with Fighters. . . taken together form part of the UFC’s anticompetitive scheme”).

                                                           4                       Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                          PUBLIC COPY - REDACTED
         Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 14 of 37



 1   Amgen, 568 U.S. at 459. And the question properly before this Court is not whether Plaintiﬀs will

 2   ultimately prevail on them, but whether they will predominate. Id. Zuﬀa does not deny they will.

 3          Zuﬀa’s ﬁrst argument is that evidence showing it coerced Fighters to re-sign contracts gives rise

 4   to individualized issues regarding an antitrust violation. OB at 3, 20-22. But whether a particular

 5   Fighter was coerced has no special signiﬁcance to that Fighter’s claim. Zuﬀa does not even argue

 6   coercion is an element of each Fighter’s claim. It isn’t. See, e.g., Le v. Zuﬀa, LLC, 216 F. Supp. 3d

 7   1154, 1161 (D. Nev. 2016) (setting out Sec. 2 claim elements). 9 Nor do Plaintiﬀs seek damages for

 8   discrete acts of coercion, but only for the cumulative eﬀect of Zuﬀa’s conduct. �e relevant issue

 9   regarding a violation, then, is the overall eﬀect of Zuﬀa’s Scheme. In re Warfarin Sodium Antitrust

10   Litig., 391 F.3d 516, 528-29 (3d Cir. 2004) (making this point about misrepresentations in §2 case). 10

11          �e same holds true for Zuﬀa’s second argument: that individualized evidence is necessary to

12   show particular Class members were injured by Zuﬀa’s “shelving” of Fighters—signing more Fighters

13   than Zuﬀa needed for bouts. OB at 22. But no Class member’s claim ﬂows directly from having been

14   shelved. Rather, as Dr. Singer observes, Zuﬀa’s use of this practice is (a) evidence of its monopsony

15   power, SR1 ¶¶193-96, and (b) part of its overarching Scheme to foreclose potential rivals from access

16   to top Fighters. SR1 ¶¶152-208, esp. ¶¶193-96. Whether Zuﬀa “shelved” for anticompetitive reasons or

17   procompetitive ones is a common question. So too is whether the practice contributed to market

18   foreclosure. �at a particular Fighter was shelved has no special signiﬁcance for that Fighter’s claim. 11

19
     9
       Courts have recognized that persons, even absent formal coercion, enter into illegal exclusive
20   agreements that collectively confer market power on a dominant buyer or seller. See, e.g., NicSand, Inc.
     v. 3M Co., 457 F.3d 534, 544 (6th Cir. 2006) (“�e reason that a series of exclusive dealing contracts
21   may be anticompetitive is that distributors, in agreeing to the terms of such contracts, may fall victim to
     a collective action problem[.]”).
22   10
        As this Court previously explained: “�e Court therefore ﬁnds that, as a whole, Plaintiﬀs plead facts
     showing that the scheme is anticompetitive such that the ‘eﬀect is to “foreclose competition in a
23   substantial share of the line of commerce aﬀected.”’” Le, 216 F. Supp. 3d at 1169 (emphasis added)
     (citation omitted).
24   11
        Nor need Plaintiﬀs show that they would have fought for Zuﬀa but for the Scheme. All a class
     member needs to show to recover damages is that he or she did in fact ﬁght for Zuﬀa and that his or her
25   pay was artiﬁcially suppressed as a result of the antitrust violation. �e law provides that each
     transaction at the artiﬁcially aﬀected level constitutes injury, and whether that transaction might not
26   have taken place at all in the but-for world is not relevant. See In re Tricor Direct Purchaser Antitrust
     Litig., 252 F.R.D. 213, 230-31 (D. Del. 2008) (“defendants assert that [plaintiﬀs] must prove that all
27   class members who would not have purchased TRICOR® in the ‘but for’ world nevertheless would
     have continued to buy. . . a less expensive generic formulation. . . . [P]laintiﬀs only are required to
28   show that they, in fact, did purchase TRICOR® at a higher price once an antitrust violation and causal

                                                          5                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
       Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 15 of 37



 1   So Zuﬀa is incorrect that Plaintiﬀs must identify which Fighters would have had contracts with Zuﬀa if

 2   not for the Scheme. OB at 22. 12

 3          �e same ﬂaw undermines Zuﬀa’s third argument: that the output market is regional, not

 4   national. Even if Zuﬀa deﬁned regional markets (it hasn’t even tried), that would not give rise to

 5   individualized issues. �e output market involves promotion of live MMA Events, largely through pay-

 6   per-view or broadcast television, but also through tickets to attend in person. SR1 ¶115. �e relevance

 7   of the output market is to show Zuﬀa’s Scheme not only harmed Fighters—Plaintiﬀs’ sole basis for

 8   damages—but also had other anticompetitive eﬀects. SR1 ¶¶197-207; SR2 ¶¶44-49; SR4 ¶¶4, 6, 10.

 9   Whether the Scheme did have such eﬀects depends on evidence entirely common to Class members.

10      C. Zuﬀa Fails to Rebut Plaintiﬀs’ Showing of Common Impact
11          Plaintiﬀs also establish common impact, i.e., that common evidence is capable of showing

12   Zuﬀa’s Scheme widely suppressed Fighter pay. CB at 21-29. Plaintiﬀs establish common impact

13   through a standard two-step process, id. at 19, 23, showing, ﬁrst, general compensation deﬂation and,

14   second, a widespread eﬀect across Class members. 13 �ey show a widespread eﬀect in two ways: (1)

15   using Dr. Singer’s impact regression model to analyze impact for each Class member, demonstrating

16                           , id. at 25-26; and (2) using econometric and other evidence to show Fighter

17   compensation moved together in response to common factors, so that generally suppressing Fighter pay

18   would harm virtually all Class members. Id. at 26-29. Crucially, as to the ﬁrst method of showing a

19   widespread eﬀect, Zuﬀa admits that a class may contain 5% to 6% uninjured members. OB at 24; see

20   also CB at 22 & n.51. Zuﬀa thus does not deny that Plaintiﬀs’ showing

21            , if done properly, suﬃces. Further, other than (erroneous) attacks on Dr. Singer’s regression

22
     relationship are established”); see also Berkey Photo, Inc. v. Eastman Kodak Co., 603 F.2d 263, 295–96
23   (2d Cir. 1979) (each purchase from the monopolist at a monopoly price constitutes injury because “[a]n
     unlawful monopolist must be ‘deprived of the fruits’ of its wrongful conduct”).
24   12
        Further, Zuﬀa is incorrect to imply that some Fighters may have beneﬁted from shelving. Zuﬀa pays
     Fighters only when they compete. So binding Fighters to exclusive contracts, preventing them from
25   competing for anyone else, and then “shelving” them beneﬁted no one but Zuﬀa. Eliminating that
     practice would create no losers—only winners. As a result, In re NCAA Student-Athlete Name &
26   Likeness Licensing Litig., 2013 WL 5979327 (N.D. Cal. Nov. 8, 2013), and In re NCAA I-A Walk On
     Football Players, 2006 WL 1207915 (W.D. Wash. May 3, 2006), OB at 22, are inapposite.
27   13
        Zuﬀa confuses the two steps in the common impact analysis, complaining that Plaintiﬀs rely in the
     ﬁrst step on an “average.” OB at 24, n.40 (citing CB at 25). But averaging is perfectly appropriate in
28   the ﬁrst step, which addresses only the general eﬀect on compensation, leaving to the second step to
     determine—without averaging—how widespread that eﬀect was across Class members.
                                                          6                     Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
       Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 16 of 37



 1   model, Zuﬀa fails to refute Dr. Singer’s ﬁnding or distinguish the multiple cases endorsing this very

 2   method for demonstrating common impact. CB at 19 & n.46 (citing cases). As to the second method of

 3   showing a widespread eﬀect—i.e., an implicit pay structure—Zuﬀa claims that “Plaintiﬀs cite no cases

 4   certifying a class based only on th[is] type of evidence.” OB at 29. In fact, Plaintiﬀs cited numerous

 5   cases that did so. CB at 4-5, 19 & nn.47 & 61-62. Zuﬀa discusses only one of them, and successfully

 6   distinguishes none of them. OB at 32 (discussing High-Tech II).

 7                          Dr. Singer’s Use of Wage Share Is Proper.
 8          Zuﬀa’s main argument echoes its Daubert motion: that Dr. Singer’s impact regressions should

 9   use wage level, not Wage Share. OB at 24-26. Speciﬁcally, Dr. Singer ran regressions

10            to assess the relationship between (1) “Foreclosure Share”: the percentage of the MMA

11   market subject to Zuﬀa’s Exclusive Contracts, and (2) Wage Share: the percentage of Zuﬀa’s MMA

12   Event Revenues it paid its Fighters. He shows that as Zuﬀa’s Foreclosure Share increased, its Wage

13   Share decreased. SR1 ¶¶180-87 & Tbl.6; SR2 ¶¶36-38, 40, 68, 73-75, 85, 121; SZDO at 7-8, 10-11. Dr.

14   Singer applies his impact regression to compare the amount Zuﬀa paid each Fighter to the amount it

15   would have paid if not for the anticompetitive eﬀects of the Scheme—that is, in a world where

16   Foreclosure Share was substantially lower. SR1 ¶¶230-31 & Tbl.8; CD, Ex. 9 (Singer Errata) at 4; SR2

17   ¶¶36, 40, 150-52 & Tbls. 2-3. �at enables him to show                                            . Id.

18          As detailed in Plaintiﬀs’ Daubert opposition, Zuﬀa has abandoned its original argument against

19   Wage Share. SZDO at 2-3, 11-12. All of its experts had opined that Wage Share has no relevance to this

20   case. Zuﬀa even oﬀered the testimony of an economist, Dr. Oyer, solely to support that position. Dr.

21   Oyer relied centrally on the work of Dr. Alan Manning, who, Dr. Oyer proclaimed, is “a recognized

22   expert and leader. . . in analysis of monopsony in labor markets” and is “particularly authoritative.”

23   O.Tr. at 123:4-6, 122:17-21. However, Dr. Manning explains that use of Wage Share is appropriate in

24   this case. MR1 ¶¶6, 24-31. Further, Dr. Oyer admitted numerous economics publications assessing

25   monopsony power in professional sports use Wage Share. SZDO at 2. So have Zuﬀa, its experts, and its

26   business partners. Id. at 11-12. And Zuﬀa now remarkably concedes use of Wage Share is proper when

27   economists “attempt to analyze the impact of an observed change in monopsony power.” SD at 2, 15.

28   That is precisely what Plaintiﬀs’ experts do here. SZDO at 3, 12-14. Zuﬀa nonetheless continues to

                                                          7                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
          Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 17 of 37



 1   claim that Plaintiﬀs’ use of Wage Share is inappropriate, arguing that its Scheme could not have caused

 2   harm because “the compensation in dollars paid to Zuﬀa athletes has increased during the class period.”

 3   OB at 25. But the real issue is whether, if not for Zuﬀa’s Scheme, Fighters would have received a

 4   larger share of Zuﬀa’s growing Event Revenues than they actually did. For that reason, even Zuﬀa’s

 5   own economist, Dr. Topel, admitted that monopsony power may suppress worker pay even where wage

 6   levels are rising. SR2 ¶39, n.126 (discussing Topel admission). 14

 7           Zuﬀa also criticizes Dr. Singer’s regression as novel. OB at 25. As detailed in Plaintiﬀs’

 8   Daubert opposition, SDZO at 14-18, that claim is false and irrelevant. As noted above, Zuﬀa has

 9   admitted that it is appropriate to use Wage Share to assess the eﬀects of changes in monopsony power,

10   SD at 2, 15, and that is what Dr. Singer does. Indeed, economists routinely use Wage Share in assessing

11   the eﬀects of monopsony power on professional athletes, including as the dependent variable in

12   regressions. SDZO at 11-12, nn.18-19 (citing papers). What makes Dr. Singer’s analysis unusual

13   relative to academic publications such as Dr. Manning’s textbook is that this litigation has aﬀorded Dr.

14   Singer access to detailed compensation data that economists rarely have. MR1 ¶¶14-23; SR3 ¶¶13-16.

15   �at makes his regressions unusually rigorous. Further, as Zuﬀa admitted in its Daubert brief, Johnson

16   v. Arizona Hosp. & Healthcare Ass’n, 2009 WL 5031334 (D. Ariz. July 14, 2009) (“Arizona Nurses”),

17   certiﬁed a class based on Dr. Singer’s proposal to use Wage Share in a regression to measure impact

18   and damages. 15 In addition, the court in White v. NCAA, at 2006 WL 8066803, *5 (C.D. Cal. Oct. 19,

19
     14
        Zuﬀa also argues that Dr. Topel ran a similar regression to Dr. Singer’s but used wage level rather
20   than Wage Share. �at regression, Zuﬀa claims, “shows that athletes were not harmed.” OB at 25. Not
     so. Dr. Topel’s wage level regression suﬀers from a fatal ﬂaw known as endogeneity, a criticism that
21   Drs. Singer and Manning have both made and to which Zuﬀa does not respond in its opposition brief.
     SR2 ¶¶116, 118-19; MR1 ¶30; OB at 25. Endogeneity can explain why Dr. Topel could not reach
22   statistically signiﬁcant results. Further, Dr. Topel’s regression cannot assess whether increases in
     Foreclosure Share suppress compensation because it assumes that Zuﬀa’s foreclosure had no eﬀect on
23   the proportion of Event Revenue paid out to Fighters, and thus assumes that the small share of Event
     Revenue that Zuﬀa pays to its Fighters is a competitive outcome. SR2 ¶¶116-17; SR3 ¶¶34-37. Finally,
24   Dr. Topel’s wage level regression, even if meritorious, would have no bearing on class certiﬁcation. If
     Dr. Singer’s use of Wage Share is deemed admissible, Dr. Topel’s critique using another method just
25   creates a common issue to be resolved at trial. Tyson Foods, 136 S. Ct. at 1049 (“Once a district court
     ﬁnds evidence to be admissible, its persuasiveness is, in general, a matter for a jury.”).
26   15
        Zuﬀa tries to distinguish that case in two ways. SDR at 4. First, it argues that the nurses were paid a
     percentage of their billings. However, Zuﬀa’s own expert, Dr. Oyer, admitted that the form of pay a
27   worker receives—in dollars or as a percentage of revenues—does not determine the right way to
     analyze worker compensation—wage levels or Wage Share. O.Tr. at 91:2-9. Second, the issue is how
28   Fighters would have been paid in a competitive market, not how they were paid subject to Zuﬀa’s

                                                          8                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
       Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 18 of 37



 1   2006), speciﬁcally relied on a Wage Share-based analysis to certify a class of student athletes using

 2   federal antitrust law to challenge the NCAA’s cap on ﬁnancial aid awards. �e study at issue compared

 3   NCAA athlete Wage Share—i.e., the cost of paying players’ room and board divided by the revenues of

 4   NCAA institutions—to the Wage Share of professional athletes. 16

 5          Zuﬀa also cites In re High-Tech Employee Antitrust Litig., 985 F. Supp. 2d 1167, 1207–08 (N.D.

 6   Cal. 2013) (“High-Tech II”), which used wage level. OB at 25. But, as Dr. Manning explains, the

 7   workers there were software engineers and the like, and there was no reason to think that an engineer’s

 8   compensation would be proportionate, for example, to the overall corporate revenues of Google or

 9   Microsoft. MR1 ¶22. In contrast, Dr. Singer’s Wage Share analysis is based on revenues from speciﬁc

10   MMA Events featuring speciﬁc Fighters. SR2 ¶¶72, 108; SR1 ¶181, n.451. As noted above, economists

11   have long recognized that professional athletes have a signiﬁcant, measurable impact on revenues and

12   the best way to assess the eﬀect of monopsony power on their compensation is to use Wage Share. SR2

13   ¶¶89-102; MR1 ¶¶6, 24-28, 31. Indeed, Zuﬀa does not cite to a single case or publication rejecting the

14   use of Wage Share to measure the eﬀects of monopsony power on professional athlete pay.

15                          Dr. Singer’s Use of Foreclosure Share Is Proper.
16                          a)      Dr. Singer Demonstrates Foreclosure of Competition.
17          Zuﬀa claims that Dr. Singer assumes rather than proves Foreclosure Share. OB at 26-27. Zuﬀa

18   is wrong. First, Dr. Singer compares the length of Zuﬀa’s contracts with the length of the average

19   MMA Fighter career. He conservatively treats as adding to Foreclosure Share only contracts that last at

20   least 30 months (and that have additional provisions enabling Zuﬀa to extend them in perpetuity). He

21   also shows the average professional career of an MMA Fighter ranges from about                        .

22   SZDO at 26; SR1 ¶90; SR2 ¶¶64 & Tbl.1. He explains Exclusive Contracts that last as long as or

23
     Scheme. As Drs. Singer, Manning, and Zimbalist explain, MMA athletes are responsible for a
24   proportion of event revenues and so their pay in a competitive market would have been based on a
     percentage of anticipated Event Revenues (whether set as a dollar amount or as a percentage). CB at
25   31-32. Finally, some MMA athletes were paid a percentage of revenues from, for example, pay-per-
     view. See SZDO at 15, n.29 (citing SR1 ¶32).
26   16
        Id. at *5, n.4 (“�is [Wage Share] percentage is extremely low when compared with the professional
     sports markets that Division I athletes may eventually enter. Professional markets are diﬀerent from
27   college markets, but they share important characteristics. �e production function (types and number of
     capital and labor inputs) and revenue generation models are similar. In the NBA and NFL, player
28   compensation is approximately 55-65% of total revenues. �ese percentages oﬀer a reasonable
     comparison and estimate of player inputs in the production of sports entertainment.”).
                                                          9                      Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                          PUBLIC COPY - REDACTED
          Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 19 of 37



 1   longer than the average professional career foreclose competition. SR1 ¶¶88-91; SR2 ¶¶64-66. Zuﬀa

 2   ignores that evidence. OB at 26-27. Second, documentary evidence conﬁrms Zuﬀa and other industry

 3   participants

 4          . SZDO at 27. Dr. Topel himself admitted that

 5                                                 CB at 11. �ird, Dr. Singer’s measure of Foreclosure Share

 6   has a statistically signiﬁcant, inverse relationship with Wage Share. SR1 ¶¶186-87 & Tbl.6. His

 7   approach to Foreclosure Share explains the eﬀect of changes in Zuﬀa’s market foreclosure (and thus in

 8   its monopsony power) on Fighter pay with a high degree of statistical signiﬁcance. If Dr. Singer’s

 9   measure of Foreclosure Share were improper, it would not explain changes in Fighter compensation so

10   well. 17 Zuﬀa oﬀers no credible alternative account for Dr. Singer’s regression’s results. 18

11            Finally, Zuﬀa oddly asserts that Dr. Singer does not compare the actual world to one without the

12   Scheme but rather to one with various levels of Foreclosure Share (i.e., 0%, 20%, or 30%). OB at 27.

13   But a world without the Scheme would have 0% Foreclosure Share—a scenario Dr. Singer analyzes—

14   and the other approaches are conservative, showing impact and damages even if Zuﬀa retained some

15   Foreclosure Share. SR1 ¶¶230-31, 250, 252 & Tbls.8, 10; SR2 ¶¶152, 188, 199 & Tbls.2-3.

16                   b)      Zuﬀa’s Criticism of “Averaging” Misunderstands Foreclosure Share.
17            Zuﬀa accuses Dr. Singer of improperly using “averages.” OB at 27-28. He does not. He

18   performs a regression including hundreds of variables that allows him to determine the amount that,

19   without the Scheme, Zuﬀa would have paid each Class member for each Bout. SR1 ¶¶230-31 & Tbl.8;

20
     17
        Zuﬀa claims in its Daubert reply that this argument is circular. SDR at 14. It is not. Picking an
21   appropriate measure of Foreclosure Share is similar to trying to ﬁgure out which key on a chain
     matches the lock on your front door. �at a key opens the lock provides compelling evidence it is the
22   right one. Similarly, Zuﬀa takes Dr. Singer’s use of the word “tautological” at deposition out of context
     to argue that Dr. Singer assumes foreclosure. OB at 26. For the reasons set forth in the text, Zuﬀa is
23   wrong. Dr. Singer merely made the technical point that Foreclosure Share will depend on the minimum
     contract duration that one deﬁnes as suﬃcient to contribute to foreclosure. Id. If he had decided to be
24   less conservative, he could have included a lower minimum than 30 months. But that does not mean
     that Dr. Singer picked his deﬁnition arbitrarily, that he lacked support for his deﬁnition, or that an
25   arbitrary deﬁnition would yield the striking and signiﬁcant results that Dr. Singer’s regression does.
     18
        Zuﬀa asserts that there are “procompetitive” reasons Zuﬀa would keep for itself a larger share of
26   Event Revenues over time. SD at 15, 18-19. More speciﬁcally, Zuﬀa has belatedly suggested that
     increased “advertising,” or increased non-Fighter event spending more broadly, could explain falling
27   Wage Share. SD at 19; SDR at 10-11. But the evidence is that
                                        . SR3 ¶¶29-33; SR4 ¶¶34-35 & Fig.1; SZDO 22-25. So Zuﬀa has no
28   evidence that its “investments” were disproportionately driving Event Revenues. See also infra at n.27
     & pp. 22-23.
                                                           10                      Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                           PUBLIC COPY - REDACTED
Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 20 of 37
          Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 21 of 37



 1   Headliners—the top-15 ranked Fighters in each of the ten major MMA weight classes, SR1 ¶¶99,

 2   112—gives it monopsony power over all Fighters in the relevant input market, not just over the

 3   Headliners. SR1 ¶¶112-14, 156-67; SR2 ¶¶54-55, 59. Headliners determine the success of an MMA

 4   Event and, as a result, a promoter’s control of the Headliners yields monopsony power for Fighters’

 5   services generally. Id. 21

 6                           Dr. Singer Shows Common Impact Based on a Pay Structure.
 7           Dr. Singer also establishes common impact by showing an implicit pay structure, i.e., Zuffa’s

 8   compensation of Fighters moved together in response to common factors. SR1 IV.B; SR2 III.B-C. In

 9   other words, changes in the pay of particular Fighters corresponded to changes in pay to Fighters in

10   general. With such a structure, a common factor—like the Scheme—that suppressed pay generally

11   would have had a widespread effect. Plaintiffs cite numerous cases finding just this sort of evidence

12   sufficient to establish common impact. See, e.g., CB at 4-5, 19, 28 & nn.47, 61-62 (citing Nitsch; High-

13   Tech; Polyester Staple; Aftermarket Lighting Prods.; Seaman). Zuffa erroneously asserts that “Plaintiffs

14   cite no cases certifying a class based only on the type of evidence discussed in this section.” OB at 29.

15   Yet Zuffa cites only one of Plaintiffs’ cases and successfully distinguishes none of them.

16                           a)    Dr. Singer’s “Sharing Analysis” Establishes Common Impact.
17           One way that Dr. Singer shows a pay structure is through a “Sharing Analysis.” SR1 ¶¶228-29

18   & Tbl.7. He performs a regression showing that changes in individual Fighter compensation correlate

19   to changes in overall Fighter compensation. Id. That kind of evidence has often been used to establish

20   common impact. CB at 4, 28, n.62 (citing, e.g., Seaman). When Dr. Topel performed the same analysis

21

22   21
       �e cases that Zuﬀa cites to criticize averaging—OB at 28—are inapposite because they call for the
     very kind of analysis that Dr. Singer undertakes here. Zuﬀa admits that the plaintiﬀs of In re Optical
23   Disk Drive Antitrust Litig., 303 F.R.D. 311, 321 (N.D. Cal. 2014), relied on a single “aggregate
     overcharge percentage,” OB at 28, and did not—as Dr. Singer does here—assess impact for each class
24   member. �e same was true—again, by Zuﬀa’s own admission—in Reed v. Advocate Health Care, 268
     F.R.D. 573, 591 (N.D. Ill. 2009), where plaintiﬀs relied on an “average base wage,” OB at 28, as well
25   as a single overcharge. Reed, 268 F.R.D. at 590–91. �at contrasts with Dr. Singer’s method of using a
     common model to analyze individual Class member injury. SR1 ¶¶230-31 & Tbl.8. See also, e.g., In re
26   Air Cargo Shipping Servs. Antitrust Litig., 2014 WL 7882100, at *55 (E.D.N.Y. Oct. 15, 2014)
     (approving expert’s use of same regression method used here to test impact for each class member
27   separately). Further, in Reed the court found the pay of diﬀerent nurses did not move in parallel, 268
     F.R.D. at 592, whereas Dr. Singer here shows—and Dr. Topel admits—that compensation of diﬀerent
28   Fighters did move together. E.g., OB at n.8.

                                                         12                      Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 22 of 37
          Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 23 of 37



 1                                                                     ” Id. But all Dr. Topel has shown is

 2   that some individual factors correlate to some common factors—that is why the two analyses add up to

 3   more than 100%. They are not mutually exclusive. So, for example, a Fighter may be highly ranked

 4   (common factor) in part because he lands a lot of strikes in a fight (individual factor). That Fighter

 5   compensation can be predicted in more than one way—through common factors or individual factors—

 6   does not undermine Dr. Singer’s finding that common factors predict almost 80% of the variation in

 7   compensation. Given that finding, Zuffa’s exercise of monopsony power would be expected to suppress

 8   the compensation of virtually all Zuffa Fighters. SR2 ¶¶163-64. 23

 9                  c)      Evidence of Pay Equity Confirms Common Impact.
10           In addition, Plaintiffs offer extensive evidence, SR1 ¶¶213-26; SR2 III.B-C, showing that Zuffa

11   maintained “internal pay equity”—consistency in pay for comparable Fighters and in the ratio of pay

12   between different levels of Fighters. CB at 26-28. As High-Tech II and Seaman held, a showing of

13   internal pay equity is compelling common evidence that conduct that suppressed pay generally will

14   have a classwide effect. See CB at nn.57, 61-62 (citing cases). Zuffa’s economists are silent on this

15   issue. T.Tr.1 at 176:9-12. Zuffa’s lawyers, on the other hand, assert that Plaintiffs rely “on one former

16   employee’s testimony” that it maintained internal pay equity. OB at 33. But that former employee, Joe

17   Silva, was the UFC’s chief matchmaker, responsible for negotiating with hundreds of UFC Fighters

18   over more than twenty years! CB at 26. 24 Further, his testimony was corroborated by admissions from

19

20
     23
        Plaintiﬀs’ price structure analysis is consistent with High-Tech II, 985 F. Supp. 2d at 1197-98, the
21   main case on which Zuﬀa relies. OB at 32. Class certiﬁcation was more challenging in High-Tech II
     than here, and plaintiﬀs’ showing there was not as robust as here, yet the court found common impact
22   and certiﬁed a class. For instance, unlike here, where the class includes about 1,200 Fighters in the
     same profession and the same market competing for the same entity with monopsony power, the class
23   there contained: about 60,000 members, id. at 1180; (2) working in a great variety of salaried positions
     in the “technical, creative, and/or research and development ﬁelds,” id. at 1177; (3) paid by seven
24   diﬀerent companies in diﬀerent product areas, id. at 1171–72; (4) with no showing of monopsony
     power. Further, plaintiﬀs’ evidence in High-Tech II was less robust because their expert was not able to
25   assess impact on a Class member by Class member basis—as Dr. Singer does here—but rather had to
     rely on statistical evidence—which Dr. Singer also presents—that common factors explained most of
26   the variability in compensation and that compensation for diﬀerent class members moved together over
     time, id. at 1212–13; and, in performing that analysis, had to rely on averages rather than individual
27   compensation, id. at 1218–20, while Dr. Singer is able to perform the analysis at an individual level.
     24
        Dr. Topel admitted that Silva was a reliable source for information on negotiations with UFC
28   Fighters. See T.Tr.2 at 501:21-502:11; id. at 499:23-500:6.

                                                          14                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 24 of 37
Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 25 of 37
Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 26 of 37
       Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 27 of 37



 1   that Plaintiﬀs Le, Fitch, Kingsbury, and Vasquez have concerns about the UFC purportedly unrelated to

 2   the Scheme. 34 But Zuﬀa relies on examples of its mistreatment of Class members ﬂowing from its

 3   market dominance. See, e.g., CB at 9. �ese facts, if presented at trial, would provide incremental

 4   support for—and be typical of—the Class claims. Regardless, they would not be “the focus of the

 5   litigation.” 35 Second, Zuﬀa implies certain minor diﬀerences in the Plaintiﬀs’ circumstances present

 6   typicality problems. OB at 16-17 (Vera and Le, while under UFC contract, said the UFC did not

 7   “coerce” them; Vasquez fought for the UFC under a contract assigned to the UFC by another promoter;

 8   Vera competed for another promoter after the UFC). None of these issues aﬀects typicality because

 9   none is relevant to the suﬃciency of any Fighter’s claim. 36 �is case is about the collective eﬀect of

10   Zuﬀa’s Scheme on foreclosing marketwide competition. �us, no class member’s case depends on

11   showing anything about his or her individual contracts or circumstances. 37 �ird, Zuﬀa’s statute of

12   limitations defense against one of the six identity rights plaintiﬀs (Quarry) does not preclude

13   typicality. 38 �at defense cannot focus the litigation on individual issues because whether exploitation,

14

15   similar litigation made his claims “uniquely vulnerable” to defenses regarding whether he truly was
     misled—a fundamental issue in that case. Id. Zuﬀa does not even argue here that any such “unique”
16   vulnerability exists here. (d) In Valenzuela v. Union Pac. R.R. Co., 2017 WL 679095, at *4-8 (D. Ariz.
     Feb. 21, 2017), the plaintiﬀs were atypical because, unlike here, proving the underlying state law
17   property claims depended upon “a complex and unique set of factual legal issues” that diﬀered for each
     class member. Id. at *8.
18   34
        E.g., (a) Zuﬀa’s matching Kingsbury against tough but unknown Fighters, OB at 17; Kingsbury Tr. at
     116:16-22; (b) Zuﬀa’s mistreatment of Le surrounding his suspension, OB at 17; Le Tr. at 48:5-56:19;
19   (c) Zuﬀa’s power to deprive Fitch of opportunities to become a champion (despite his solid record)
     because it “did not like his ﬁghting style,” OB at 17; Fitch Tr. at 83:1-85:2, 236:9-242:22; and, (d)
20   Zuﬀa’s ability to force Vasquez to attend Zuﬀa promotional events (without compensation). OB at 17;
     Vazquez Tr. at 111:17-112:25.
21   35
        See In re Organogenesis Sec. Litig., 241 F.R.D. 397, 405 (D. Mass. 2007) (additional
     misrepresentations made to the named plaintiﬀs beyond what was common to the class did not preclude
22   typicality); see also Kelen v. World Fin. Network Nat. Bank, 295 F.R.D. 87, n.5 (S.D.N.Y. 2013)
     (“irrelevant ‘unique defenses’” do not preclude typicality).
23   36
        See, e.g., Gilkey v. Cent. Clearing Co., 202 F.R.D. 515, 524 (E.D. Mich. 2001) (facts irrelevant to the
     elements of the claim cannot not defeat typicality); Edmonds v. Levine, 233 F.R.D. 638, 641–42 (S.D.
24   Fla. 2006) (diﬀerences that do not go to the elements of the claim are irrelevant to typicality).
     37
        See, supra, n.8, quoting CAC ¶115 (alleging case is about Zuﬀa’s contracts “taken together”).
25   Further, no class member, for instance, needs to show he was “coerced” into signing his contract with
     Zuﬀa to prove his claim. See supra at 2, 5.
26   38
        Zuffa filed a summary judgment motion, claiming that the statute has run against Quarry because he
     did not execute an identity rights agreement during the limitations period. ECF No. 347. Plaintiffs
27   respond by pointing out Quarry’s identity rights were exploited during the limitations period, and a
     Fighter is harmed each time he or she is undercompensated for such uses, and also that Quarry’s
28   agreement appears to have been renewed during the limitations period. ECF No. 365.

                                                         18                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
          Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 28 of 37



 1   on one hand, or contract execution, on the other, deﬁnes injury for Identity Class members is a

 2   classwide issue. Regardless, as a legal matter, statute of limitations defenses do not destroy typicality. 39

 3        E. Plaintiﬀs Satisfy the Adequacy Requirement
 4           Zuﬀa argues the named Plaintiﬀs are not adequate because, as former UFC Fighters, they

 5   purportedly will not protect the interests of current Fighters. OB at 17-19. Zuﬀa is wrong. First, even if

 6   UFC Fighters were employees—Zuﬀa insists they are not—in the Ninth Circuit “there is ample support

 7   for the position that former employees may represent present employees.” Woﬀord v. Safeway Stores,

 8   Inc., 78 F.R.D. 460, 489 (N.D. Cal. 1978). 40 Indeed, courts have recognized that former employees may

 9   be less susceptible to employer coercion and thus better representatives. 41 �at principle is apt here

10   where the underlying claim involves Zuﬀa’s misuse of its market dominance. Second, given that

11   Fighters’ careers with the UFC are transitory 42—and that Zuﬀa can terminate Fighters so easily 43—

12   requiring current Fighters as named Plaintiﬀs would enable Zuﬀa to immunize itself from this suit. See,

13   e.g., In re NCAA Athletic Grant-In-Aid Cap Antitrust Litig. (“Grant-In-Aid”), 311 F.R.D. 532, 537, 540

14   (N.D. Cal. 2015) (that plaintiﬀs were “no longer eligible to participate in NCAA athletics” did not

15   make them inadequate class representatives). �ird, Zuﬀa’s argument is based on pure speculation: that

16   Plaintiﬀs’ pursuit of money damages here could harm current Fighters. OB at 18. Zuﬀa hints that this

17

18   39
        See, e.g., Alexander v. JBC Legal Grp., P.C., 237 F.R.D. 628, 631 (D. Mont. 2006); In re Domestic
     Drywall Antitrust Litig., 2017 WL 3700999, at *5 (E.D. Pa. Aug. 24, 2017); Arizona Nurses, 2009 WL
19   5031334, at *4.
     40
        See Barnes v. AT&T Pension Beneﬁt Plan, 270 F.R.D. 488, 495 (N.D. Cal. 2010) (named plaintiﬀ’s
20   “status as a former employee . . . does not preclude him from satisfying the adequacy requirement”);
     Sarviss v. Gen. Dynamics Info. Tech., Inc., 663 F. Supp. 2d 883, 911 (C.D. Cal. 2009) (same); In re
21   Wells Fargo Home Mortg. Overtime Pay Litig., 527 F. Supp. 2d 1053, 1064 (N.D. Cal. 2007) (same).
     See also Allen v. Holiday Universal, 249 F.R.D. 166, 181 (E.D. Pa. 2008) (former health club members
22   not inadequate even though suit could potentially reduce quality of the club for current members).
     41
        Fujita v. Sumitomo Bank of Cal., 70 F.R.D. 406, 411 (N.D. Cal. 1975) (formers “who are free from
23   any possible coercive inﬂuence on the part of the employer, may well be better situated than . . . present
     employees to present [a] . . . strongly adverse case” against the employer).
24   42
        �is case was ﬁled on December 16, 2014, and will be tried no earlier than 2019. By contrast, the
     median Zuﬀa Fighter career is 0.82 years; the mean is 2 years. SR2 ¶64 & Tbl.1.
25   43
        Zuﬀa’s reference to MMA Fighter Leslie Smith, OB at 18, n.35, highlights the problem. Zuﬀa
     observes that Smith, who at the time it ﬁled its brief was under contract with the UFC, had been
26   organizing “to get UFC athletes unionized.” Id. Despite having won two ﬁghts in a row, and being
     ranked in the top 10, on April 20, 2018, Zuﬀa refused to renew Smith’s contract in apparent retaliation
27   for her union organizing. See CD3, Ex. 89 (Liz Mullen, Fighter Files NLRB Claim Against UFC
     Around Union Eﬀort, SPORTS BUSINESS DAILY (May 2, 2018), available at
28   https://www.sportsbusinessdaily.com/Daily/Closing-Bell/2018/05/02/UFC.aspx).

                                                           19                      Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                          PUBLIC COPY - REDACTED
Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 29 of 37
          Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 30 of 37



 1   given ﬁghts, and not being paid. 49 �ere is no cognizable conﬂict. 50

 2        F. Plaintiﬀs’ Showing Complies with Comcast
 3           Zuffa also makes a series of cursory “Comcast arguments.” OB at 35-37. Comcast involved

 4   highly unusual facts. The plaintiffs there offered four theories of liability, only one of which the trial

 5   court allowed to proceed on a class basis. Comcast Corp. v. Behrend, 569 U.S. 27, 31 (2013). The

 6   problem was that plaintiffs had calculated only the cumulative damages from all four theories and their

 7   expert admitted he could not separate out the damages for the one theory that survived. Id. at 32, 37.

 8   The Supreme Court reached the unexceptional conclusion that plaintiffs’ theory of liability and their

 9   measure of damages have to match. Id. at 35. Antitrust defendants have regularly over-read the case at

10   class certification ever since and the courts have regularly rejected that over-reading. See, e.g., Leyva v.

11   Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013).

12           Dr. Singer shows that Zuffa’s Foreclosure Share—the proportion of MMA Fighters subject to

13   its Exclusive Contracts—affects its Wage Share. SR1 ¶¶180-87 & Tbl.6. The theory of liability tested

14   by his model—that Zuffa’s Exclusive Contracts are part of an unlawful Scheme—matches his measure

15   of damages—Zuffa’s underpayment of its Fighters because of illegal foreclosure from the Exclusive

16   Contracts. He confirms his damages analysis using as benchmarks other MMA promoters—Bellator

17   and Strikeforce (before Zuffa acquired it)—to offer alternative, conservative measures of damages

18   based on a competitive Wage Share                      SR1 ¶¶247-48 & Tbl.9. Dr. Zimbalist uses other

19   major sports as benchmarks and concludes that in a reasonably competitive market Zuffa would have

20   paid Fighters                                         . ZR1 ¶¶104-26 & Tbls.4-6.

21           Zuffa’s first Comcast argument is that Plaintiffs’ experts err by measuring damages only from

22   the Exclusive Contracts, and not the rest of the Scheme. OB at 35-36. That argument fails, first,

23   because Dr. Singer shows that the Exclusive Contracts were necessary to all of the harm Drs. Singer

24
     49
        Further, even if (counterfactually) some Fighters would beneﬁt from an exclusionary practice, the
25   law does not recognize a conﬂict that arises only because parties would prefer the continuation of
     illegal conduct. Grant-In-Aid, 311 F.R.D. at 542; Allen, 2012 WL 5844871, at *7 (“these putative class
26   members should not be heard to complain that the court has ordered the discontinuation of illegal
     conduct even if they ﬁnd such conduct beneﬁcial and would like to preserve the status quo”).
27   50
        While Plaintiﬀs do not believe it is necessary, if for any reason the Court concludes that the Class
     would beneﬁt from having a current Fighter as a class representative, Class Counsel are aware of a
28   current UFC Fighter willing to so serve. Given that that Fighter would be putting his career at risk by
     coming forward, Class Counsel request that that step be taken only if necessary.
                                                            21                    Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                          PUBLIC COPY - REDACTED
         Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 31 of 37



 1   and Zimbalist measure. Eliminate the Exclusive Contracts, and Zuffa’s Foreclosure Share would drop

 2   to 0% and its Wage Share would rise from about           to about    or more. SR1 Tbls.9-11; SR2 ¶152.

 3   All of Zuffa’s other actions that make up its Scheme—e.g., acquiring potential rivals, coercing Fighters

 4   to sign contracts—ensnared Fighters, increasing the number of them subject to Zuffa’s Contracts. As a

 5   result, the Contracts caused all of the damages. Second, Zuffa’s argument fails under precedent holding

 6   that Comcast does not require plaintiffs to separate out the damages caused by different parts of an

 7   anticompetitive scheme, as is confirmed by a case in Zuffa’s Daubert motion. In re Rail Freight Fuel

 8   Surcharge, 2017 WL 5311533, at *56 (D.D.C. Nov. 13, 2017); see also Le, 216 F. Supp. 3d at 1168;

 9   SourceOne Dental, Inc. v. Patterson Cos., Inc., 2018 WL 2172667, at *6 (E.D.N.Y. May 10, 2018) (at

10   urging of Boies Schiller (Zuffa’s counsel here), economist’s damages model deemed reliable even

11   though it “does not attempt to disaggregate damages for each of th[e] three types of [alleged] conduct,”

12   which the court held “was not required for his model to be admissible”).

13          Zuffa also argues that Plaintiffs’ measure of damages includes “pro-competitive acquisitions of

14   firms” and other (unspecified) beneficial conduct. OB at 36. That argument also fails for two reasons.

15   First, again, Plaintiffs’ damages reflect only the harm caused by Zuffa’s illegal Exclusive Contracts.

16   Even if some of Zuffa’s acquisitions were procompetitive or Zuffa attracted Fighters through other

17   procompetitive means, it required those Fighters to sign illegal Exclusive Contracts that contributed to

18   marketwide foreclosure. No matter the means by which Zuffa attracted Fighters—procompetitive or

19   anticompetitive—it remains liable for the harm from its Exclusive Contracts. Zuffa’s argument to the

20   contrary is like an armed robber saying he is not liable for the full amount of the money he stole

21   because he bought his gun legally. Second, Zuffa has not shown its acquisitions or any parts of its

22   Scheme were procompetitive. See SR1 ¶¶257-85; SR2 ¶¶210-41; SR3 ¶¶25-27, 29.

23          Zuffa also contends an increase in Event Revenues can decrease Wage Share and argues that

24   “

25                 ” OB at 37 (emphasis in original). But Plaintiffs do not assume—or claim—

26                                                       . See SZDO at 19-24. Rather Plaintiffs show—

27   through expert and other evidence—that

28                                                                                       . SR1 ¶¶185 & Tbl.6;

                                                         22                      Case No.: 2:15-cv-01045-RFB-(PAL)
                         REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                         PUBLIC COPY - REDACTED
          Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 32 of 37



 1   SR3 ¶29; MR1 ¶¶26-274; SR4 ¶¶14, 16-17, 25, 40. For instance,

 2                                                                                                   . SR4 ¶¶34-35

 3   & Fig.1. So there is no evidence

 4                                                                           . SR3 ¶¶26, 33; SR4 ¶¶1, 14-19,

 5   25-26, 34-37, 40. Moreover, as Dr. Singer explains, what Zuffa contributes enhances the value of what

 6   Fighters contribute, and vice versa.

 7

 8

 9                                                           . SR3 ¶¶26-27; SR4 ¶¶14, 16-17, 25, 40. None of

10   Zuffa’s economists has ever refuted this “proportionality” principle. Indeed, Dr. Topel concedes that

11                                                                                 . SR2 ¶¶113, n.420, 136; SR4

12   ¶¶14, 17, 15, 40. That is why Zuffa and Dr. Topel have repeatedly tried, and failed, to come up with a

13   missing variable that could explain away the clear link between rising Foreclosure Share and falling

14   Wage Share:

15                      . SR4 ¶¶1, 14-17, 25, 40.

16                                                           . SR3 ¶¶21-22, 26-27, 29; SR4 ¶¶14, 16-17, 25,

17   40. 51 As a result, in a more competitive market, Zuffa would have paid a proportion of growing Event

18   Revenues to its Fighters, as the damages analyses of Drs. Singer and Zimbalist reflect. Zuffa, however,

19   implausibly asserts it was solely responsible for all of the growth in Event Revenues. Only that

20   implausible assumption can justify its argument that as long as it increased Fighter compensation

21   slightly, even while Event Revenues increased dramatically, its Scheme did not cause any harm to its

22   Fighters. OB at 25. Yet on that crucial point—its assumption that Fighters did not contribute

23   proportionally to Event Revenue growth—Zuffa provides no evidence.

24        G. Class Litigation Is Superior to Individual Actions
25           Zuffa argues that class treatment is inferior to individual litigation, pointing again to its coercion

26
     51
       �is proportionality principle is integral to sports economics. It is why economists and industry
27   participants in measuring the eﬀects of monopsony power on the compensation of professional athletes
     consistently use Wage Share—because those athletes generate a proportion (or percentage) of revenues.
28   SR1 ¶¶185 & Tbl.6; SR2 ¶¶88-109; SR3 ¶¶20-33; MR1 ¶¶6, 23.

                                                           23                       Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                            PUBLIC COPY - REDACTED
          Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 33 of 37



 1   of Fighters. OB 37-38. As explained above, however, neither coercion nor any of the other issues Zuffa

 2   raises give rise to individualized proof. Supra II.C. Zuffa also implies that large damages make class

 3   certification inappropriate. But that is not a proper basis for denying class certification. 52 Further, most

 4   Class members here have modest damages, and thus this is just the sort of case in which a class action

 5   is necessary to vindicate important federal statutory rights.

 6        H. Common Issues Predominate for the Identity Class
 7            Zuﬀa makes four arguments challenging certiﬁcation of the Identity Class. OB at 38-40. None is

 8   based on any expert testimony. Id. None is persuasive. 53 First, Zuﬀa claims the Identity Class includes

 9   all Fighters whose identities were expropriated or exploited during the Class Period, but Dr. Singer

10   evaluates impact and damages only for Class members who received a payment or entered

11   an agreement during the Class Period. Id. Zuﬀa does not explain, however, how Dr. Singer’s approach

12   would cause diﬃculties for class certiﬁcation. �e failure to receive a payment or enter an agreement

13   during the Class Period implies that a Fighter’s identity was not expropriated. In any case, the Identity

14   Class can be limited, if necessary, to Fighters who received a payment or entered an agreement during

15   the Class Period. Second, Zuﬀa asserts that Dr. Singer

16                                                                      . OB at 39. �at argument

17   misunderstands the signiﬁcance of Dr. Singer’s regression.

18

19

20

21                                . SR1 ¶253. �ird, Zuﬀa claims that Plaintiﬀs prove common impact for

22   Fighters who entered PARs based on Dr. Singer’s assumption that

23                                  . OB at 40. �at argument confuses impact and damages.

24           represents Dr. Singer’s estimate of the amount of damages. It is not his proof of impact—which

25
     52
        Zinser v. Accuﬁx Research Inst., Inc., 253 F.3d 1180, 1190–91 (9th Cir. 2001), which Zuﬀa
26   misquotes, OB at 38, holds that small claims support certiﬁcation and large claims are neutral, not a
     reason to deny certiﬁcation. See Boyd v. Bank of Am. Corp., 300 F.R.D. 431, 444 (C.D. Cal. 2014)
27   (“potentially high value of the claims does not weigh against class certiﬁcation”) (analyzing Zinser).
     53
        Zuﬀa also asserts that Plaintiﬀs have changed their theory, OB at 38, but the complaint alleged
28   Zuﬀa’s conduct suppressed Fighter compensation for identity rights. CAC ¶92 (v)&(vi).

                                                           24                       Case No.: 2:15-cv-01045-RFB-(PAL)
                          REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                          PUBLIC COPY - REDACTED
          Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 34 of 37



 1   derives from all Fighters, in the actual world, signing away certain Identity rights in perpetuity without

 2   compensation, something they would not have done absent the Scheme, which suﬃces for impact. 54

 3          I. Plaintiﬀs Have Standing to Seek Injunctive Relief
 4             Plaintiﬀs seek class treatment of their damages and injunctive relief claims under 23(b)(3), as

 5   the law allows. 55 Plaintiﬀs have standing to seek injunctive relief for various reasons. First, two of the

 6   named Plaintiﬀs, Fitch and Vera, 56 are current MMA Fighters, and thus would beneﬁt from injunctive

 7   relief. Haro v. Sebelius, 747 F.3d 1099, 1108 (9th Cir. 2014) (setting out test for standing to pursue

 8   injunctive relief). Zuﬀa’s Scheme continues to impair the viability of potential rival MMA promoters—

 9   and thus continues to harm all Fighters in the relevant market. E.g., SR1 ¶¶134-39, 159-66; SR2 ¶¶21,

10   29-30, 42, 50-55, 65-67, 69-71. Second, one of the Plaintiﬀs, Le, was under contract with the UFC at

11   the time the suit was ﬁled. He has standing too. See Haro, 747 F.3d at 1109 (named plaintiﬀ had

12   standing to pursue injunctive relief where the “alleged injury was ongoing at the time the complaint

13   was ﬁled”); see also Grant-In-Aid, 311 F.R.D. at 537 (rejecting mootness of former NCAA athletes’

14   injunctive relief claims given their “inherently transitory” careers); SR2 ¶64 & Tbl.1. �ird, courts

15   frequently certify classes of former employees seeking injunctive relief. 57

16   III.      CONCLUSION
17             For the foregoing reasons, the Court should certify the proposed Classes and appoint co-lead

18   and liaison counsel as proposed.

19

20

21
     54
        Fourth, Zuﬀa claims that Dr. Singer does not address that Zuﬀa paid some of its Fighters for the
22   “ancillary rights” in the PARs. OB at 40. But Zuﬀa provides only unexplained exhibits suggesting
                                                                                                    . Any
23   compensated Fighters can be excluded from the Class deﬁnition or can receive no recovery from the
     Class damages—an issue of damages allocation, not class certiﬁcation. Tyson Foods, 136 S. Ct. at
24   1049-50 (uninjured class members can be excluded at allocation stage); Leyva, 716 F.3d at 513–14
     (individual damages issues do not preclude class certiﬁcation).
25   55
        E.g., Tigbao v. QBE Fin. Inst. Risk Servs., Inc., 2014 WL 5033219, at *1 (C.D. Cal. Sept. 22, 2014)
     (“because a class certiﬁed under Rule 23(b)(3) may still seek injunctive relief, there was no reason for
26   the Court to assume that Plaintiﬀ sought certiﬁcation of a damages only Rule 23(b)(3) class”).
     56
        “In a class action, standing is satisﬁed if at least one named plaintiﬀ meets the requirements.” Bates
27   v. United Parcel Serv., Inc., 511 F.3d 974, 985 (9th Cir. 2007).
     57
        See, e.g., Grant-In-Aid, 311 F.R.D. at 537, 545-47 (certifying class where named plaintiﬀs were
28   former collegiate athletes); Barnes, 270 F.R.D. at 496–97 (former employee could sue “for injunctive
     and declaratory relief on behalf of himself and the class”).
                                                              25                   Case No.: 2:15-cv-01045-RFB-(PAL)
                           REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                           PUBLIC COPY - REDACTED
       Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 35 of 37



 1   Dated: May 30, 2018                        Respectfully Submitted,

 2                                              By: /s/ Eric L. Cramer
                                                   Eric L. Cramer
 3

 4                                              Eric L. Cramer (Pro Hac Vice)
                                                Michael Dell’Angelo (Pro Hac Vice)
 5                                              Patrick F. Madden (Pro Hac Vice)
                                                Mark R. Suter (Pro Hac Vice)
 6                                              BERGER & MONTAGUE, P.C.
 7                                              1622 Locust Street
                                                Philadelphia, PA 19103
 8                                              Phone: (215) 875-3000/Fax: (215) 875-4604
                                                ecramer@bm.net
 9                                              mdellangelo@bm.net
                                                pmadden@bm.net
10
                                                msuter@bm.net
11
                                                Joseph R. Saveri (Pro Hac Vice)
12                                              Joshua P. Davis (Pro Hac Vice)
                                                Jiamin Chen (Pro Hac Vice)
13                                              Kevin E. Rayhill (Pro Hac Vice)
14                                              JOSEPH SAVERI LAW FIRM, INC.
                                                601 California Street, Suite 1000
15                                              San Francisco, California 94108
                                                Phone: (415) 500-6800/Fax: (415) 395-9940
16                                              jsaveri@saverilawﬁrm.com
                                                jdavis@saverilawﬁrm.com
17
                                                jchen@saverilawﬁrm.com
18                                              krayhill@saverilawﬁrm.com

19                                              Benjamin D. Brown (Pro Hac Vice)
                                                Richard A. Koﬀman (Pro Hac Vice)
20                                              Daniel H. Silverman (Pro Hac Vice)
21                                              COHEN MILSTEIN SELLERS & TOLL, PLLC
                                                1100 New York Ave., N.W., Suite 500
22                                              Washington, DC 20005
                                                Phone: (202) 408-4600/Fax: (202) 408 4699
23                                              bbrown@cohenmilstein.com
                                                rkoﬀman@cohenmilstein.com
24
                                                dsilverman@cohenmilstein.com
25
                                                Co-Lead Class Counsel
26

27

28

                                                     26                     Case No.: 2:15-cv-01045-RFB-(PAL)
                       REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                     PUBLIC COPY - REDACTED
     Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 36 of 37



 1                                         Liaison Counsel for the Class
 2                                         Don Springmeyer (Nevada Bar No. 1021)
                                           Bradley S. Schrager (Nevada Bar No. 10217)
 3
                                           WOLF, RIFKIN, SHAPIRO, SCHULMAN &
 4                                         RABKIN, LLP
                                           3556 E. Russell Road, Second Floor
 5                                         Las Vegas, Nevada 89120
                                           Phone: (702) 341-5200/Fax (702) 341-5300
 6                                         dspringmeyer@wrslawyers.com
 7                                         bschrager@wrslawyers.com

 8                                         Additional Counsel for the Classes:
 9                                         Robert C. Maysey (Pro Hac Vice)
                                           Jerome K. Elwell (Pro Hac Vice)
10
                                           WARNER ANGLE HALLAM JACKSON &
11                                         FORMANEK PLC
                                           2555 E. Camelback Road, Suite 800
12                                         Phoenix, AZ 85016
                                           Phone: (602) 264-7101/Fax: (602) 234-0419
13                                         rmaysey@warnerangle.com
14                                         jelwell@warnerangle.com

15                                         Frederick S. Schwartz (pro hac vice)
                                           LAW OFFICE OF FREDERICK S. SCHWARTZ
16                                         15303 Ventura Boulevard, #1040
                                           Sherman Oaks, CA 91403
17
                                           Phone: (818) 986-2407/Fax: (818) 995-4124
18                                         fred@fredschwartzlaw.com

19                                         William G. Caldes (admitted pro hac vice)
                                           SPECTOR ROSEMAN KODROFF & WILLIS, P.C.
20                                         1818 Market Street – Suite 2500
                                           Philadelphia, PA 19103
21
                                           Phone: (215) 496-0300/Fax: (215) 496-6611
22                                         wcaldes@srkw-law.com

23                                         John D. Radice (admitted pro hac vice)
                                           RADICE LAW FIRM, P.C.
24                                         34 Sunset Blvd.
25                                         Long Beach, NJ 08008
                                           Phone: (646) 245-8502
26                                         jradice@radicelawﬁrm.com

27

28

                                                27                     Case No.: 2:15-cv-01045-RFB-(PAL)
                  REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                PUBLIC COPY - REDACTED
       Case 2:15-cv-01045-RFB-BNW Document 554 Filed 05/30/18 Page 37 of 37



 1                                     CERTIFICATE OF SERVICE
 2           I hereby certify that on this 30th day of May, 2018 a true and correct copy of
     Plaintiﬀs’ REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
 3   and supporting papers was served via email and the Court’s CM/ECF system on all parties or persons
     requiring notice.
 4

 5
                                                              /s/ Eric L. Cramer
 6                                                            Eric L. Cramer

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                      28                     Case No.: 2:15-cv-01045-RFB-(PAL)
                        REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
                                       PUBLIC COPY - REDACTED
